[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]MEMORANDUM OF DECISION RE MOTION TO STRIKE
CT Page 7746
In this action arising out of a motor vehicle accident, the defendant moves to strike Count 2 and the respective prayer for relief of the two-count complaint. Count 2 alleges that the defendant violated General Statutes § 14-218a with reckless disregard and that the violation of the statute was a substantial factor in causing the plaintiff's injuries. The prayer for relief seeks double or triple damages pursuant to General Statutes §14-295.
A motion to strike challenges the legal sufficiency of a pleading. P.B. § 152. "Like the demurrer it admits all facts
well pleaded." Mingachos v. CBS, Inc., 196 Conn. 91, 108 (1985). Further, the facts as pleaded in the complaint must be construed most favorably towards the plaintiff. Gordon v. BridgeportHousing Authority, 208 Conn. 161, 170 (1988). Accordingly, if the facts provable under the allegations support a cause of action, the motion must fail.
The defendant argues that Count 2 is legally insufficient in that it lacks specificity. General Statutes § 14-295
provides:
         Sec. 14-295. Double or treble damages for persons injured as a result of certain traffic violations. In any civil action to recover damages resulting from personal injury, wrongful death or damage to property, the trier of fact may award double or treble damages if the injured party has specifically pleaded that another party has deliberately or with reckless disregard operated a motor vehicle in violation of section 14-218a, 14-219, 14-222, 14-227a,  14-230, 14-234, 14-237, 14-239 or 14-240a, and that such violation was a substantial factor in causing such injury, death or damage to property.
[Emphasis added.]
It is clear that Count 2 includes the allegations required under § 14-295, specifically that the defendant violated §14-218a with reckless disregard (¶ 10) and that the violation was a substantial factor in causing the plaintiff's injuries CT Page 7747 (¶ 11). See Besson v. Davis, Docket No. 327040S (J.D. Fairfield) (1/5/96) (Ballen, J.); Eldredge v. Sternberg,1995 Ct. Sup. 1493-LL (J.D. Hartford) (2/16/95) (Wagner, J.). Count 2 and the prayer for relief are sufficiently pleaded under General Statutes § 14-295.
The Motion to Strike is denied.
DiPentima, J.